               Case 2:20-ap-00267-FMD       Doc 46    Filed 09/22/21     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

In Re:

Kimberlee R. Everson,                                Case No. 2:20-bk-03062-FMD

      Debtor.
________________________________/

Kimberlee R. Everson,                                Adv. Proc. No. 2:20-ap-00267-FMD

         Plaintiff,

         vs.

U.S. Department
of Education,

      Defendant.
________________________________/

                           DEFENDANT’S NOTICE OF FILING

         Consistent with the Court’s direction at trial, Defendant discloses the following legal

authority:

   •     In re Kelly, 496 B.R. 230, 235-38 (Bankr. M.D. Fla. 2013) (holding plaintiff failed the
         first Brunner prong for failing to minimize expenses);

   •     In re Southard, 337 B.R. 416, 420-21 (Bankr. M.D. Fla. 2006) (finding plaintiff could
         reduce expenses, including the amount spent eating out at restaurants, without
         causing her lifestyle to fall below a minimal standard of living);

   •     In re Matthews-Hamad, 377 B.R. 415, 421 (Bankr. M.D. Fla. 2007) (considering
         plaintiff’s tax refunds and available payment programs when assessing the first prong
         of Brunner);

   •     In re Chasser, 391 B.R. 482, 491 (Bankr. M.D. Fla. 2008) (holding debtor did not
         make a good faith effort to repay his student loans based, in part, on the excessive
         amount of money spent eating in restaurants).

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Case 2:20-ap-00267-FMD   Doc 46   Filed 09/22/21   Page 2 of 2




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